                      IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

LADONNA NEWTON,

                 Plaintiff,                          Case No. 2:16-cv-04077

v.

A-1 PREMIUM ACCEPTANCE, INC.
d/b/a KING OF KASH,

                 Defendant.


                     CORPORATE DISCLOSURE STATEMENT
                 OF DEFENDANT A-1 PREMIUM ACCEPTANCE, INC.

       Defendant A-1 Premium Acceptance, Inc., hereby provides the following disclosure

statement pursuant to Fed. R. Civ. P. 7.1. Defendant A-1 Premium Acceptance, Inc., is a

subsidiary of Waldo General, Inc. There is no publically held corporation which owns 10% or

more of the stock of Defendant.

                                           Respectfully submitted,

                                           Case Linden P.C.



                                           s/ Patric S. Linden
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                                     Certificate of Service

        I hereby certify that on March 4, 2016, a true and correct copy of the above and foregoing
was filed in the Court’s electronic filing system and that copies of same were served on said date
by email and by depositing one copy in the U.S. mail, first class postage prepaid, addressed to:

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                                                    s/ Patric S. Linden
                                                     Patric S. Linden




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